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                                             UNITED STATES DISTRICT COURT
                                         FOR THE EASTERN DISTRICT OF MICHIGAN

                            ADAM KANUSZEWSKI, et al,
                                Plaintiffs,                               Case No.: 18-cv-10472

                                 v.                                      Hon. Thomas L. Ludington,
                                                                            District Court Judge
                            MICHIGAN DEPARTMENT OF
                            HEALTH AND HUMAN                              Hon. Patricia T. Morris,
                            SERVICES, et al,                                Magistrate Judge
                                Defendants
                                                                /
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                                            RESPONSE TO STATE DEFENDANTS’
                                      EX PARTE MOTION FOR PAGE LENGTH EXTENSION




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                                  NOW COMES Plaintiffs, by counsel, and responds to the State

                            Defendants’ ex parte request for a page limit extension of ten additional

                            pages for their response to Plaintiffs’ First Amended Complaint. ECF Nos.

                            26 and 29. Their proposed motion to dismiss follows the filing of the First

                            Amended Complaint. Id. Plaintiffs filing of the expanded First Amended

                            Complaint after submission of the Defendants’ previous filed motions to

                            dismiss mooted the latter. Tiffany v. Mich Dep’t. of Health and Human Servs.,
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                            2015 U.S. Dist. LEXIS 126368, at *2 (E.D. Mich, Sep. 22, 2015)(LUDINGTON,

                            J.)(citing Smith & Nephew Inc. v. Fed. Ins. Co., 113 F. App’x 99, 102 (6th
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                            Cir. 2004) and Mize v. Blue Ridge Bank, No. 8:12-CV-2763-JMC-JDA, 2013

                            WL 1766659, at *1 (D.S.C. Feb. 12, 2013) (collecting cases)); see also Ling

                            v. Twp of Richland, 2015 U.S. Dist. LEXIS 10831, at *3 (ED Mich, Jan. 30,

                            2015) (LUDINGTON, J.). The parties agreed to an extension of time to allow all

                            defendants time to respond to the First Amended Complaint. ECF No. 28.

                                  Previously, this Court granted a page extension on the State

                            Defendants’ dismissal motion. See ECF Nos. 18 and 21. It also

                            simultaneously granted Plaintiffs an equal page-extension as part of their

                            response. Id. Because the Court granted one side a benefit, providing an

                            equal extension to Plaintiffs rendered the relief fair and prevented procedural

                            prejudice.



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                                  Therefore, to the extent this Court would again permit additional

                            briefing length than allowed by the Local Rule of the Eastern District of

                            Michigan, Plaintiffs would not object provided this Court again automatically

                            grant the Plaintiffs, page for page, the opportunity to enjoy the same

                            extension length when responding to the proposed oversized filing of the

                            State and its officials sued in this case. In other words, Plaintiffs have no

                            objection to entry of an order providing essentially the same relief as this
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                            Court’s order of April 12, 2018.
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                                                       RELIEF REQUESTED

                                  WHEREFORE, Plaintiffs, by counsel, respectfully defers to this Court

                            on whether to grant the page extension for which Plaintiffs will not object

                            provided this Court grants Plaintiffs the same number of available pages

                            when responding to the State Defendants’ forthcoming motion.

                            Date: May 24, 2018                    RESPECTFULLY SUBMITTED:

                                                                  /s/ Philip L. Ellison
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                                                    CERTIFICATE OF SERVICE

                                  I, the undersigned attorney of record, hereby certify that on the date

                            stated below, I electronically filed the foregoing with the Clerk of the Court

                            using the ECF system which will send notification of such filing to all counsel

                            or parties of record.

                            Date: May 24, 2018                     RESPECTFULLY SUBMITTED:

                                                                   /s/ Philip L. Ellison
                                                                   OUTSIDE LEGAL COUNSEL PLC
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